Case 2:23-md-03080-BRM-RLS           Document 21-1   Filed 10/26/23   Page 1 of 11 PageID:
                                            117



 Peter S. Pearlman
 Matthew F. Gately
 COHN LIFLAND PEARLMAN
 HERRMANN & KNOPF, LLP
 Park 80 West Plaza One
 250 Pehle Avenue, Suite 401
 Saddle Brook, New Jersey 07663
 (201) 845-9600
 psp@njlawfirm.com
 mfg@njlawfirm.com

 Liaison Counsel for Direct Purchaser Class

 [Additional Counsel on Signature Page]

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

                                                Case No. 2:23-md-3080
     IN RE: INSULIN PRICING                     (BRM)(RLS)
     LITIGATION                                 MDL No. 3080
                                                JUDGE BRIAN R.
     THIS DOCUMENT RELATES
                                                MARTINOTTI
     TO: In re Direct Purchaser Insulin
     Pricing Litig., Case No. 20-03426          JUDGE RUKHSANAH L.
     (D.N.J.)                                   SINGH




                   MEMORANDUM IN SUPPORT OF
         MOTION FOR INCLUSION OF IN RE DIRECT PURCHSER
         INSULIN PRICING LITIGATION ACTION IN MDL No. 3080
Case 2:23-md-03080-BRM-RLS                        Document 21-1               Filed 10/26/23            Page 2 of 11 PageID:
                                                         118



                                             TABLE OF CONTENTS

 BACKGROUND................................................................................................................... 1

  1. Procedural Status of In re Direct Purchaser Insulin Pricing Litigation ............................... 1
  2. Discovery in this Action ................................................................................................. 2
  3. Status of MDL No. 3080 ................................................................................................ 3

 ARGUMENT ......................................................................................................................... 4

 CONCLUSION ..................................................................................................................... 6




                                                                   i.
Case 2:23-md-03080-BRM-RLS                        Document 21-1               Filed 10/26/23            Page 3 of 11 PageID:
                                                         119



                                          TABLE OF AUTHORITIES

 28 U.S.C. §1407.............................................................................................................. passim




                                                                  ii
Case 2:23-md-03080-BRM-RLS          Document 21-1      Filed 10/26/23     Page 4 of 11 PageID:
                                           120



        Plaintiffs in In re Direct Purchaser Insulin Pricing Litig., No. 20-cv-03426-BRM-RLS

 (D.N.J.) (the “Action”) respectfully request that the Court formally order inclusion of

 the Action in MDL No. 3080 (the “MDL”) pending before Your Honor. 1 This would

 more fully promote the purpose of the multidistrict litigation statute, 28 U.S.C. § 1407,

 in the just and efficient conduct of all cases in general and the insulin pricing cases in

 particular, and the just, speedy, and inexpensive determination of the insulin pricing

 actions, as directed by Federal Rule of Civil Procedure 1. All of the requirements for

 inclusion under 28 U.S.C. §1407 have been met, and Plaintiffs do not foresee any

 undesirable effect from formally including their case in the MDL. In fact, Plaintiffs

 have conferred with Defendants as to the relief sought herein and Defendants have

 indicated that they do not oppose the inclusion of the Action within the MDL.

                                         BACKGROUND

        1. Procedural Status of In re Direct Purchaser Insulin Pricing Litigation

        Plaintiffs filed their original direct purchaser class action complaint on March 31,

 2020 against Pharmacy Benefit Managers CVS-Caremark, Express Scripts, and

 OptumRx and insulin manufacturers Eli Lilly, Novo Nordisk, and Sanofi-Aventis.

 Plaintiffs are pursuing the case on behalf of a proposed class of direct purchasers


 1
   While neither the MDL Panel nor this Court has formally added the Action to MDL
 No. 3080, this Court has stated that it, in effect, considers that case (and all other insulin
 pricing cases) to be part of MDL No. 3080. Transcript of Sept. 12, 2023 Status
 Conference (“Tr.”) at 22:5-12. Plaintiffs respectfully request that the Court make this
 inclusion official.



                                            1
Case 2:23-md-03080-BRM-RLS         Document 21-1      Filed 10/26/23    Page 5 of 11 PageID:
                                          121



 defined as: “All persons or entities that directly purchased NovoLog, Humalog,

 Levemir, and/or Lantus from one or more Defendants in the United States or its

 territories at any time from January 1, 2009 until [the date of the class certification

 order].” Second Amended Complaint at 62, ¶ 152, Doc. 261 in 20-cv-03426.

        The Action originally was assigned to Your Honor who, in 2021, granted in part

 and denied in part motions to dismiss the First Amended Complaint, allowing the

 federal RICO claims to proceed while dismissing the federal antitrust claims.

 Thereafter, the case was reassigned to Judge Quraishi, and then back to Your Honor

 after the MDL was formed.

        In November 2022, Plaintiffs amended their complaint to plead additional RICO

 predicate acts, and that Second Amended Complaint is subject to motions to dismiss

 that are fully-briefed. The court subsequently entered an Amended Scheduling Order

 on December 27, 2022 with February through December 2024 deadlines for amending

 the pleadings, substantially completing discovery, and filing class certification briefs. In

 light of the MDL and the subsequent entry of orders staying discovery and motion

 practice, as well as coordinating all insulin pricing cases, these deadlines will need to be

 extended and harmonized with those cases currently in the MDL.

        2. Discovery in the Action

        Although the Action was filed in 2020, discovery commenced only in early 2022,

 with each party serving interrogatories and discovery requests. Despite Plaintiffs’

 diligent efforts, progress with discovery was slow, and numerous meet-and-confer


                                         2
Case 2:23-md-03080-BRM-RLS         Document 21-1     Filed 10/26/23    Page 6 of 11 PageID:
                                          122



 conferences did not resolve key discovery disputes. Only a fraction of the requested

 documents has been produced, and no depositions have been scheduled or taken.

 Discovery has not advanced far enough to negate efficiencies that would flow from

 inclusion in the MDL. To the contrary, efficiency would be enhanced.

          While the Court entered a Discovery Confidentiality Order and a Stipulated ESI

 Discovery Protocol in the Action, Plaintiffs’ counsel in the Action have been playing

 an integral role in negotiating another Confidentiality Order and ESI Discovery

 Protocol that would universally apply to all the insulin pricing actions.

          3. Status of MDL No. 3080

          The “Moving State Plaintiffs” filed a § 1407 motion for centralization of their

 cases, excluding the four “New Jersey Insulin Pricing Actions.” JPML Transfer Order,

 Doc. 1 in MDL No. 3080 (J.P.M.L. Aug. 4, 2023) (“JPML TO”), at 1. Over Defendants’

 objections and calls for informal coordination, the JPML centralized before Your

 Honor only the insulin pricing actions that were subject to the Moving States Plaintiffs’

 MDL motion and additional tag-along and related cases. Id. at 4. The JPML left to Your

 Honor the decision of whether to formally include the Action in MDL No. 3080. Id. at

 4 n.9.

          After the JPML TO in MDL No. 3080 was docketed, this Court issued Case

 Management Order # 1, which applied to all insulin pricing cases transferred by the

 JMPL, all related cases filed in federal court in New Jersey (including this Action), and

 any tag-along actions. Doc. 5 in No. 23-md-03080 (D.N.J. Aug. 18, 2023) (“CMO #



                                        3
Case 2:23-md-03080-BRM-RLS         Document 21-1      Filed 10/26/23    Page 7 of 11 PageID:
                                          123



 1”), at 2. The Court scheduled an initial case management conference for September

 12, 2023, directed Plaintiffs’ and Defendants’ counsel to meet and confer on several

 issues, and ordered each of the Plaintiff groups it had identified in CMO #1 and the

 Defendants to submit pre-conference filings before the conference. Id. at 5-8. The

 Court held the initial status conference as scheduled. At the conference, the Court

 stated that discovery would be coordinated, Tr. at 15:21-22, and that coordination and

 cooperation are keys to a just resolution of all cases before the Court. Id. at 55:6-8.

        The Court then entered Case Management Order #2 on September 21, 2023.

 Doc. 19 in 23-md-0380 (“CMO # 2”). CMO # 2 directed the parties to meet and confer

 about the status of cases, a plan for discovery, and related protocols and orders, and

 submit proposed leadership structures to the Court before the next scheduled status

 conference in November. See id.

                                          ARGUMENT

        All the requirements under 28 U.S.C. § 1407 for inclusion of the Action in MDL

 No. 3080 have been met. Those factors are: 1) there are civil actions pending in different

 districts that have one or more common questions of fact; 2) centralization will be for

 the convenience of the parties and witnesses; and 3) centralization will promote the just

 and efficient conduct of the actions. 28 U.S.C. § 1407.

        As the Court explained in CMO # 1:

               This MDL “concerns an alleged scheme between insulin
               manufacturers and pharmacy benefit managers (‘PBMs’) to
               artificially and fraudulently inflate the price of insulin and


                                         4
Case 2:23-md-03080-BRM-RLS         Document 21-1      Filed 10/26/23    Page 8 of 11 PageID:
                                          124



               other diabetes medication.” (ECF No. 1 at 1.) Since 2017,
               plaintiffs around the country, in a variety of capacities, have
               been initiating separate federal civil actions involving the
               alleged pricing scheme. The JMPL designated several cases
               as part of the MDL and took no position as to the
               designation of the New Jersey Actions. (ECF No. 1 at 4,
               n.9.).

 CMO # 1 at 5.

        All the insulin pricing cases involve common core questions of fact about the

 alleged insulin pricing scheme, regardless of whether they have been brought by

 different groups of plaintiffs asserting a variety of federal and state causes of action.

 Formal inclusion in MDL No. 3080 is warranted because Plaintiffs’ case is already

 informally in MDL No. 3080, discovery in the Action is not far along, and having the

 Action be formally part of the MDL structure will streamline the Court’s docket and

 allow for more efficient coordination and cooperation among the largest group of

 cases. Further, having one set of case management orders is essential for the parties to

 comply with this Court’s directive to coordinate discovery in all the insulin pricing

 cases. Given these current and future coordinated efforts, it makes sense for the

 Action to formally be made a part of the MDL family at this early stage of the MDL

 proceedings. All factors favor inclusion of the Action in the MDL. Not one factor

 counsels against inclusion.




                                         5
Case 2:23-md-03080-BRM-RLS      Document 21-1    Filed 10/26/23   Page 9 of 11 PageID:
                                       125



                                     CONCLUSION

       Because the Action meets each and every requirement for formal inclusion in

 MDL No. 3080, and including it would allow for the highest degree of coordination

 and cooperation among the greatest number of insulin pricing cases using the MDL

 structure, the Court should formally include the Action in MDL No. 3080.

 Dated: October 26, 2023                     Respectfully submitted,


                                              /s/Matthew F. Gately
                                             Matthew F. Gately
                                             Peter S. Pearlman
                                             Interim Liaison Counsel
                                             COHN LIFLAND PEARLMAN
                                             HERRMANN & KNOPF, LLP
                                             Park 80 West Plaza One
                                             250 Pehle Avenue, Suite 401
                                             Saddle Brook, New Jersey 07663
                                             (201) 845-9600
                                             psp@njlawfirm.com
                                             mfg@njlawfirm.com

                                             Dianne M. Nast
                                             Interim Co-Lead Counsel
                                             Michael Tarringer
                                             Michele S. Burkholder
                                             NASTLAW LLC
                                             1101 Market Street, Suite 2801
                                             Philadelphia, Pennsylvania 19107
                                             (215) 923-9300
                                             dnast@nastlaw.com
                                             mtarringer@nastlaw.com
                                             mburkholder@nastlaw.com




                                      6
Case 2:23-md-03080-BRM-RLS   Document 21-1   Filed 10/26/23   Page 10 of 11 PageID:
                                    126



                                         Michael L. Roberts
                                         Interim Co-Lead Counsel
                                         Karen Halbert
                                         ROBERTS LAW FIRM, P.A.
                                         20 Rahling Circle
                                         Little Rock, Arkansas 72223
                                         (501) 821-5575
                                         mikeroberts@robertslawfirm.us
                                         karenhalbert@robertslawfirm.us

                                         Don Barrett
                                         Interim Co-Lead Counsel
                                         David McMullan
                                         BARRETT LAW GROUP, P.A.
                                         P.O. Box 927
                                         404 Court Square North
                                         Lexington, Mississippi 39095-0927
                                         (662) 834-2488
                                         dbarrett@barrettlawgroup.com
                                         donbarrettpa@gmail.com
                                         dmcmullan@barrettlawgroup.com

                                         Richard R. Barrett
                                         BARRETT LAW GROUP, P.A.
                                         2086 Old Taylor Road
                                         Suite 1101-1102
                                         Oxford, Mississippi 38655
                                         (662) 380-5018
                                         rrb@rrblawfirm.net

                                         William E. Hoese
                                         KOHN, SWIFT & GRAF, P.C.
                                         1600 Market Street
                                         Suite 2500
                                         Philadelphia, Pennsylvania 19103
                                         (215) 238-1700
                                         whoese@kohnswift.com




                                 7
Case 2:23-md-03080-BRM-RLS   Document 21-1   Filed 10/26/23         Page 11 of 11 PageID:
                                    127



                                         Michael D. Fishbein
                                         LAW OFFICES OF MICHAEL
                                         FISHBEIN
                                         1706 Rittenhouse Square
                                         No. 1201
                                         Philadelphia, Pennsylvania 19103
                                         (267) 861-0304
                                         mfishbein1706@comcast.net

                                         Charles Barrett
                                         Morgan Burkett
                                         NEAL & HARWELL, PLC
                                         1201 Demonbreun Street
                                         Suite 1000
                                         Nashville, Tennessee 37203
                                         (615) 244-1713
                                         cbarrett@nealharwell.com
                                         mburkett@nealharwell.com

                                         Attorneys for Plaintiffs




                                 8
